         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 1 of 35




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-CR-036 (CJN)
                                             :
GINA BISIGNANO,                              :
                                             :
                      Defendant.             :


                    UNITED STATES’S OMNIBUS MOTIONS IN LIMINE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this omnibus brief arguing motions in limine in

advance of the trial in this case scheduled for August 5, 2024. As ordered by the Court, ECF No.

87, the government met and conferred with defense counsel about the following motions, and they

have indicated that they plan to oppose.

       Although neither the Federal Rules of Civil Procedure nor the Federal Rules of Evidence

expressly contemplate motions in limine, the practice of allowing such motions has developed over

time “pursuant to the district court’s inherent authority to manage the course of trials.” Luce v.

United States, 469 U.S. 38, 41 n. 4 (1984). “Motions in limine are designed to narrow the

evidentiary issues for trial and to eliminate unnecessary trial interruptions.” Barnes v. D.C., 924

F. Supp. 2d 74, 78 (D.D.C. 2013) (quoting Graves v. District of Columbia, 850 F.Supp.2d 6, 10

(D.D.C. 2011)).

       The United States offers the authorities and analysis below to promote efficiency and

reduce the need to argue objections midtrial. For each motion herein, the United States asks that




                                                 1
           Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 2 of 35




the Court grant the requested relief or, if the Court reserves ruling, to consider the below arguments

when the relevant issues arise during trial.

   I.          Motion in Limine To Admit Certain Categories of Multimedia

          On July 15, 2024, the United States will provide its exhibits to defense and to the Court.

See ECF No. 87. The United States anticipates providing to the defense certain categories of

photographic and video exhibits that it intends to offer at trial. The following sections describe

each category of evidence and explain why each is admissible as relevant and authentic.

          A.      Legal Framework

          “As a general rule, tangible evidence such as photographs must be properly identified or

authenticated before being admitted into evidence at trial.” United States v. Blackwell, 694 F.2d

1325, 1329 (D.C. Cir. 1982). To satisfy this requirement, “the proponent must produce evidence

sufficient to support a finding that the item is what the proponent claims it is.” Fed. R. Evid.

901(a).     Rule 901(b) provides a nonexhaustive list of examples of methods for showing

authenticity. Those include, as relevant here:

          (1) Testimony of a Witness with Knowledge. Testimony that an item is what it is claimed
          to be.
           ....
          (3) Comparison by an Expert Witness or the Trier of Fact. A comparison with an
          authenticated specimen by an expert witness or the trier of fact.
          (4) Distinctive Characteristics and the Like. The appearance, contents, substance, internal
          patterns, or other distinctive characteristics of the item, taken together with all the
          circumstances.
           ....
          (7) Evidence About Public Records. Evidence that: (A) a document was recorded or filed
          in a public office as authorized by law; or (B) a purported public record or statement is
          from the office where items of this kind are kept.
           ....
          (9) Evidence About a Process or System. Evidence describing a process or system and
          showing that it produces an accurate result.




                                                   2
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 3 of 35




Fed. R. Evid. 901(b).

       In making the showing necessary for admissibility, “the proponent’s ‘burden of proof’” is

“slight,” and the “ultimate resolution of the evidence’s authenticity is reserved for the jury.”

United States v. Hassanshahi, 195 F. Supp. 3d 35, 48 (D.D.C. 2016) (quoting McQueeney v.

Wilmington Tr. Co., 779 F.2d 916, 928 (3d Cir. 1985)); United States v. Safavian, 435 F. Supp. 2d

36, 38 (D.D.C. 2006). To make the requisite prima facie showing, “circumstantial evidence of

authenticity can be sufficient.” United States v. Bruner, 657 F.2d 1278, 1284 (D.C. Cir. 1981).

And such evidence need not “rule out all possibilities inconsistent with authenticity, [nor] prove

beyond any doubt that the evidence is what it purports to be.” Hassanshahi, 195 F. Supp. 3d at 48

(quoting United States v. Pluta, 176 F.3d 43, 49 (2d Cir. 1999)). Rather, the party offering the

evidence need only “demonstrate that, as a matter of reasonable probability, possibilities of

misidentification and adulteration have been eliminated.” United States v. Celis, 608 F.3d 818,

842 (D.C. Cir. 2010) (quoting United States v. Stewart, 104 F.3d 1377, 1383 (D.C. Cir. 1997)).

       In a previous trial arising from the January 6, 2021 riot, in which a defendant contested the

authenticity of video evidence proffered by the United States, another court in this district

described the authenticity threshold for the factfinder to consider the proffered evidence as follows:

“The question here is, therefore, whether the government’s showing regarding the open-source

videos could permit a reasonable fact-finder to find that they are, in fact, what the government

claims.” United States v. Kyle Fitzsimons, Trial Tr. 09/27/22 (“Fitzsimons Verdict”), at 4.

        B.     Overlapping Bases for Authentication of Multimedia

       As introduced herein, there are multiple, overlapping bases that the United States intends

to use for the authentication of photographs and videos at trial. The United States offers this

nonexclusive list of bases for authentication for the Court to consider should the United States be

                                                  3
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 4 of 35




unable to enter into stipulations with the defendant in advance of trial and the defendant objects to

the authenticity of the proposed multimedia exhibits.

               1. Authentication by a Witness with Knowledge

       To begin, any witness with knowledge of the events depicted in a photograph or video can

authenticate the evidence, including but not limited to the person who took the photograph or

video. See Fed. R. Evid. 901(b)(1). Here, that includes any person who was present for the events

depicted in the photograph or video and has a recollection sufficient for them to recognize the

scene depicted. See, e.g., Am. Wrecking Corp. v. Sec’y of Lab., 351 F.3d 1254, 1262 (D.C. Cir.

2003). Any individual that observed the events depicted in the photograph or video can testify

that the photograph or video appears to fairly and accurately show the events that took place. See

Fed. R. Evid. 901(b)(1); see also United States v. Rembert, 863 F.2d 1023, 1026 (D.C. Cir. 1988).

       Even a person who was not present for a specific event can circumstantially establish the

authenticity of a photograph or video depicting that event if they can (1) identify the location(s)

depicted in the video; and (2) establish that the video is generally consistent with their knowledge

of events that occurred at that location. See, e.g., Rembert, 863 F. 2d at 1028 (“Even if direct

testimony as to foundation matters is absent . . . the contents of a photograph itself, together with

such other circumstantial or indirect evidence as bears upon the issue, may serve to explain and

authenticate a photograph sufficiently to justify its admission into evidence.” (alteration in

original) (quoting United States v. Stearns, 550 F.2d 1167, 1171 (9th Cir. 1977) (Kennedy, J.)));

United States v. Holmquist, 36 F.3d 154, 169 (1st Cir. 1994) (“A photograph’s contents, buttressed

by indirect or circumstantial evidence, can form a sufficient basis for authentication even without

the testimony of the photographer or some other person who was present at the time it was taken.”).

On this authority, the United States could authenticate riot footage through, for example, the



                                                 4
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 5 of 35




testimony of an experienced U.S. Capitol Police officer who is familiar with the areas of the

Capitol depicted in the footage and who knows that the events of January 6 are unique in modern

history. Cf. Safavian, 435 F. Supp. 2d at 40–42 (authenticating emails based on “distinctive

characteristics” and citing Fed. R. Evid. 901(b)(4)); Klayman v. Judicial Watch, 299 F. Supp. 3d

141, 145–46 (D.D.C. 2018) (admitting emails and advertisements by comparing later versions with

admitted versions). Again, this is a low bar that requires only a prima facie showing that the

evidence is what the United States purports it to be—namely, photographs and videos of the

Capitol siege in progress.

               2. Authentication by Metadata

       Where necessary, the United States can also authenticate the specific time or place of a

photograph or video using metadata. When a digital media file is extracted from a device or

otherwise seized by the government, it often contains metadata that specifies the time, and

sometimes the place, the file was created, along with other information. At trial, the United States

will sometimes call law enforcement personnel to testify about the process of extracting data from

digital devices and reviewing the extracted materials. Such testimony is sufficient to make a prima

facie showing that a photograph or video was made at the time or place reflected in the metadata.

See, e.g., United States v. Banks, 43 F.4th 912, 918 (8th Cir. 2022) (“While the officers were not

present when the images and videos were first captured, their testimony [about reviewing

extraction reports] provided a rational basis to believe that the exhibits had been created within the

relevant time frame and stored on [the defendant’s] cellular phones.”); Lorraine v. Markel Am. Ins.

Co., 241 F.R.D. 534, 547–48 (D. Md. 2007) (“Because metadata shows the date, time and identity

of the creator of an electronic record, as well as all changes made to it, metadata is a distinctive

characteristic of all electronic evidence that can be used to authenticate it under Rule 901(b)(4).”);



                                                  5
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 6 of 35




United States v. Gilbreath, No. 3:19-CR-127-TAV-HBG, 2020 WL 5441226, at *3 (E.D. Tenn.

Sept. 10, 2020) (“Metadata . . . showed that these images were created at defendant’s home and on

defendant’s cell phone on September 12, 2015.”).

               3. Authentication by Comparison

       Similarly and alternatively, in instances where precision of time and place is relevant but

cannot be established by a witness with knowledge or by the media’s metadata, the United States

will authenticate exhibits by reference to other, already-authenticated exhibits depicting the same

time and place. This method of “[a]uthentication by comparison is routine.” Valve Corp. v.

Ironburg Inventions Ltd., 8 F.4th 1364, 1371 (Fed. Cir. 2021); see also United States v. Hoyt, 946

F.2d 127, at *1 (D.C. Cir. 1991) (unpublished) (noting that Fed. R. Evid. 901(b)(3) permits

authentication by comparison); Stearns, 550 F.2d at 1171 (finding that the first picture

“authenticates the other four pictures as to time”); Safavian, 435 F. Supp. 2d at 40 (allowing

authentication of emails by means of comparison with other “e-mails that already have been

independently authenticated”). Judge Contreras, in the Fitzsimon trial, held that the United States

had adequately authenticated eight videos by showing that they were consistent with other videos,

including body-warn camera video and closed-circuit video, which had been introduced into

evidence through other means. Fitzsimons Verdict, at 5–6.

               4. Authentication Based on a Process or System that Produces an Accurate
                  Result

       Certain multimedia, such as security cameras (CCTV) operated by the U.S. Capitol Police

(USCP) and body-worn cameras (BWC) worn by officers of the Metropolitan Police Department

(MPD) can be authenticated by “describing a process or system and showing that it produces an

accurate result,” Fed. R. Evid 901(b)(9). See United States v. Dale, 991 F.2d 819, 843 (D.C. Cir.

1993) (“Tapes may be authenticated by testimony describing the process or system that created

                                                6
            Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 7 of 35




the tape.”); United States v. Pinke, 614 F. App’x 651, 653 (4th Cir. 2015) (unpublished) (finding

“sufficient evidence of authentication” of a prison’s closed circuit video where “a Government

witness explained the manner in which the prison’s closed circuit video system operates, the means

by which he obtained the video, and that he downloaded it onto the DVD that was played for the

jury.”).

           The United States will pursue stipulations with the defendant related to the authenticity of

USCP CCTV and MPD BWC. These stipulations have been entered into frequently in January 6-

related trials. If necessary, however, USCP and MPD witnesses are available to testify to the

reliability of the systems employed by USCP and MPD, respectively, to create and maintain these

videos.

                  5. Authentication Based on Status as an “Official Publication”

           Certain evidence in this case, such as video taken by the Senate Recording Studio, is also

“self-authenticating,” meaning it “require[s] no extrinsic evidence of authenticity in order to be

admitted.” Fed. R. Evid. 902.1 This is so because it qualifies as an “Official Publication[],”

defined as any “book, pamphlet, or other publication purporting to be issued by a public authority.”

Fed. R. Evid. 902(5). Official materials published on government websites fall into this category

and are self-authenticating under Rule 902. See Williams v. Long, 585 F. Supp. 2d 679, 685–90

(D. Md. 2008); cf. MMA Consultants 1, Inc. v. Republic of Peru, 245 F. Supp. 3d 486, 503–04

(S.D.N.Y. 2017) (Congressional transcripts); Singletary v. Howard Univ., No. 1:17-cv-01198,




1
 Further underscoring the multiple paths to authentication, the Senate Recording Studio footage
may also be authenticated through any of the mechanisms outlined in this motion, including Fed.
R. Evid. 901(b)(1), (3), (4), (9).
                                                    7
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 8 of 35




2018 WL 4623569, at *4 n.1 (D.D.C., Sept. 26, 2018) (government-issued guidebook), rev’d on

other grounds, 939 F.3d 287.

       The United States Senate uses the Senate Recording Studio to contemporaneously record

Senate proceedings and distribute those recordings to the public. See https://www.senate.gov/–

floor/, last accessed Dec. 15, 2022 (publicly available archived recordings of Senate Recording

Studio). The Senate Recording Studio recorded the proceedings relating to the Electoral College

Certification on January 6, 2021, up to the point when the rioters breached the building and forced

the proceedings into recess. See id., January 6, 2021. Subsequently, the Senate Recording Studio

recorded the Electoral College Certification proceedings after the rioters were cleared from the

Capitol Building and the session resumed. Id. During the interim, the Senate Recording Studio

captured footage of rioters who were present on the Senate floor during the recess. Id.

        C.     Categories of Multimedia To Be Offered

       The United States plans to introduce certain videos and photos recovered from defendant

Bisignano’s phone and social media accounts, other defendants’ phones and social media accounts,

as well as videos and photographs taken by third parties such as other rioters and journalists who

were present inside and outside the Capitol on January 6. Among other ways, these materials can

be authenticated through the processes described above.

       The evidence at trial will also include video captured by law enforcement, including CCTV

and BWC footage. Like any other videos, these can be authenticated by any person with direct

knowledge of the scene depicted or with sufficient circumstantial knowledge, see Fed. R. Evid.

901(b)(1), or through metadata or comparison, see Fed. R. Evid. 901(b)(4). Alternatively, given

the automated nature of the recording devices in question, the BWC and CCTV footage can be

authenticated under Rule 901(b)(9), which allows authentication by “[e]vidence describing a



                                                8
          Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 9 of 35




process or system and showing that it produces an accurate result.” Fed. R. Evid. 901(b)(9); see

Dale, 991 F.2d at 843; Pinke, 614 F. App’x at 653.

         The United States also anticipates introducing videos captured by the Senate Recording

Studio, which can be authenticated through any of the processes described above.

   II.        Motion in Limine To Admit Certain Statutes and Records

         A.      Judicial Notice of the Federal Electoral College Certification Law

         The proceedings that took place on January 6, 2021, were mandated by, and directed under

the authority of, several constitutional and federal statutory provisions. In fact, as Vice President

Pence gaveled the Senate to Order on January 6, 2021 to proceed with the Electoral College

Certification Official Proceeding, he quoted directly from, and cited to, Title 3, United States Code,

Section 17.

         The United States requests that the Court take judicial notice of, and admit into evidence,

copies of Article II, Section 1 of the Constitution of the United States, the Twelfth Amendment,

as well as 3 U.S.C. §§ 15–18 relating to the Electoral College Certification Official Proceedings.

It is well established that district courts may take judicial notice of law “without plea or proof.”

See United States v. Davila-Nieves, 670 F.3d 1, 7 (1st Cir. 2012) (quoting Getty Petroleum Mktg.,

Inc. v. Capital Terminal Co., 391 F.3d 312, 320 (1st Cir. 2004)). The United States makes this

request even though “no motion is required in order for the court to take judicial notice.” Moore

v. Reno, No. 00-5180, 2000 WL 1838862, at *1 (D.D.C. Nov. 14, 2000).

         B.      Admission of the Congressional Record and S. Con. Res 1

         The Congressional proceedings on January 6, 2021, were memorialized in the

Congressional Record. The Congressional Record is a public record under Federal Rule of

Evidence 902(5). See MMA Consultants, 245 F. Supp. 3d at 503–04. The United States intends



                                                  9
           Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 10 of 35




to introduce portions of the Congressional Record at trial, including the bodies’ “concurrent

resolution to provide for the counting on January 6, 2021, of the electoral votes for President and

Vice President of the United States,” S. Con. Res. 1, 117th Cong. (2021). For the same reasons as

the Senate Recording Studios footage above, these records should be admitted as self-

authenticating.

   III.      Motion in Limine To Limit Unnecessary Discussion of Security-Related Topics

          Certain topics that could arise at trial—namely the exact locations of USCP CCTV cameras

and the protocols of the U.S. Secret Service (USSS), and law enforcement preparations for the

January 6 riot—have little to no probative value but would compromise significant security

interests if needlessly disclosed to the public. The United States does not intend to elicit testimony

on any of these topics in its case-in-chief and, therefore, cross-examination on such topics would

be beyond the scope of direct examination and impermissible. Fed. R. Evid. 611(b). To the extent

that the defendant seeks to argue that any of these topics are relevant and within the scope of the

direct examination, the United States requests an order under Fed. R. Evid. 403 foreclosing

unnecessary cross-examination on these topics.

          It is well-established that a district court has the discretion to limit a criminal defendant’s

presentation of evidence and cross-examination of witnesses. See Alford v. United States, 282

U.S. 687 (1931) (“The extent of cross-examination [of a witness] with respect to an appropriate

subject of inquiry is within the sound discretion of the trial court.”); United States v. Whitmore,

359 F.3d 609, 615–16 (D.C. Cir. 2004) (“The district court . . . has considerable discretion to place

reasonable limits on a criminal defendant’s presentation of evidence and cross-examination of

government witnesses.”). A court has the discretion to prohibit cross-examination that goes

beyond matters testified to on direct examination. Fed. R. Evid. 611(b). This is particularly so



                                                    10
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 11 of 35




when the information at issue is of a sensitive nature. See, e.g., United States v. Balistreri, 779

F.2d 1191, 1216–17 (7th Cir. 1985) (upholding district court’s decision to prohibit cross-

examination of agent about sensitive information about which that agent did not testify on direct

examination and which did not pertain to the charges in the case), overruled on other grounds,

Fowler v. Butts, 829 F.3d 788 (7th Cir. 2016).

       The Confrontation Clause guarantees only “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin,

101 F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-

examination on prejudicial matters without reasonable grounding in fact); United States v. Sampol,

636 F.2d 621, 663–64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination

of alleged CIA murder scheme until defense put forth sufficient evidence of the affirmative defense

in its case-in-chief). Preventing the defendant from exploring the topics identified above will not

infringe her Confrontation Clause rights, because the exact positions of cameras, the camera map,

the U.S. Secret Service protocols, and law enforcement preparations for January 6 implicate

national security concerns, are of marginal probative value, and any probative value can be

addressed without compromising the protective functions of government agencies.

        A.     Exact Locations of USCP Cameras

       The United States seeks an order limiting the defense from probing, during cross-

examination, the exact locations of U.S. Capitol Police surveillance cameras or from using the

maps, which show each camera’s physical location, as an exhibit at trial. The United States



                                                 11
          Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 12 of 35




produced such information to the defendant in discovery pursuant to the Highly Sensitive

designation of the Protective Order. The defendant has been able to make use of such information

in order to identify evidence and prepare for trial; however, none of the information serves to

illuminate any fact of consequence that is before the Court.

         This lack of relevance must be balanced against the national security implications at stake.

The U.S. Capitol Police’s surveillance system serves an important and ongoing function in

protecting Congress, and therefore, national security. Furthermore, the United States represents

that the maps that show the physical location of cameras have been designated as “Security

Information” under 2 U.S.C. § 1979, which generally requires approval of the U.S. Capitol Police

Board before they may be released.

         Evidence about the exact locations of cameras, and the maps used to locate the cameras,

should be excluded in light of the ongoing security needs of Congress. Absent some concrete and

specific defense need to probe the camera’s location, there is nothing to be gained from such

questioning. A general description, and the footage from the camera itself, will make clear what

the camera recorded and what it did not. Additionally, presenting the map of all U.S. Capitol

Police cameras would risk compromising these security concerns for no additional probative value:

the map contains numerous cameras installed in parts of the Capitol that the defendant did not

visit.

         Here, the video footage itself reveals the general location and angle of the camera’s

positioning. Additional details as to the precise location of the cameras are not relevant to the

Court’s fact-finding mission. Even assuming the evidence that the United States seeks to exclude

is marginally relevant, such relevance is substantially outweighed by the danger to national

security. The Supreme Court has recognized that trial courts’ balancing should account for



                                                 12
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 13 of 35




concerns extrinsic to the litigation, such as “witness’ safety.” Olden v. Kentucky, 488 U.S. 227,

232 (1988) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)). Accordingly, courts

have properly balanced the sensitivity of national security-related information against the

probative value of such information to the case, excluding the evidence where its relevance is

slight. See, e.g., United States v. Marshall, 544 F. Supp. 3d 1032, 1042 (D. Mont. 2021); United

States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005); cf. United States v. Sarkissian,

841 F.2d 959, 965 (9th Cir. 1988) (endorsing balancing test in context of Classified Information

Procedures Act). If a map that revealed the location of all Capitol cameras were introduced in this

trial, or in any trial, it would become available to the general public and foreign adversaries.

Immediately, anyone could learn about the U.S. Capitol Police’s camera coverage as of January 6,

2021, and, importantly, could learn about the parts of the Capitol where cameras were not installed.

Broader presentation of evidence about camera locations could compromise national security

without adding any appreciable benefit to the determination of the truth, or the veracity or bias of

witnesses.

        B.     Secret Service Protocols

       To meet its burden of proof at trial, the United States may call a witness from the United

States Secret Service to testify that at the time of the Capitol breach, Secret Service agents were

on duty to protect Vice President Mike Pence and his two immediate family members, all of whom

were present at the Capitol. The witness may further testify about the Capitol breach’s effect on

the Secret Service’s protection of Vice President Pence and his family members. The purpose of

this testimony will be to explain, in part, the bases for enhanced security controls at the Capitol on

January 6.




                                                 13
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 14 of 35




       The very nature of the Secret Service’s role in protecting the Vice President and his family

implicates sensitive information related to that agency’s ability to protect high-ranking members

of the Executive branch and, by extension, national security. Thus, the United States seeks an

order limiting the cross-examination of the Secret Service witnesses to questioning about the

federally protected function performed by the Secret Service as testified to on direct exam, namely,

protecting the Vice President and his family. The United States further requests that such an order

preclude cross examination that would elicit information that does not directly relate to whether

the Secret Service was performing that function at the Capitol on January 6, 2021. Specifically,

cross-examination should not be permitted to extend to (1) Secret Service protocols related to the

locations where protectees or their motorcades are taken at the Capitol or other government

buildings when emergencies occur, and (2) details about the nature of Secret Service protective

details, such as the number and type of agents the Secret Service assigns to protectees. These

topics have no relevance to any issue at controversy, and even if they did, any relevance would be

substantially outweighed by the danger of prejudicing the United States’s legitimate interest in the

safety of senior government officials. See Fed. R. Evid. 403.

       Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. Specifically, the

Secret Service’s general protocols about relocation for safety should be excluded as irrelevant

because such evidence does not tend to make a fact of consequence more or less probable. See

Fed. R. Evid. 401. Similarly, evidence of the nature of Secret Service protective details is not

relevant in this case. The disorder on January 6 interfered with the Secret Service’s duties to

protectees in this case insofar as they were required to evade the mob. The number or type of

assigned agents on a protective detail is not relevant and could not alter the probability that there



                                                 14
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 15 of 35




was interference with the Secret Service. None of the other elements to be proven, or available

defenses, implicates further testimony from the Secret Service.

       Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, undue delay, and waste of time.

Broader cross-examination of Secret Service witnesses could compromise national security

without adding any appreciable benefit to the determination of the truth, or the veracity or bias of

witnesses.2

        C. Law Enforcement Preparations

       The United States anticipates calling witnesses at trial from various law enforcement

entities present at the United States Capitol on January 6, 2021, including witnesses from the

United States Secret Service, the United States Capitol Police, and the Metropolitan Police

Department. Law enforcement witnesses will testify to, inter alia, the events at the Capitol on

January 6, 2021, and the effect those events had on law enforcement and the proceedings taking



2
  If the defense believes that it is necessary to present evidence or cross-examine witnesses about
the exact locations of USCP cameras or USSS procedures, the United States requests that the Court
conduct a hearing in camera to resolve the issue. Courts have found that in camera proceedings
are appropriate in circumstances where security concerns like these are present. See United States
v. Nixon, 418 U.S. 683, 714 (1974) (affirming district court’s order for in camera inspection of
subpoenaed presidential materials); United States v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979)
(“It is settled that in camera . . . proceedings to evaluate bona fide Government claims regarding
national security information are proper.”); In re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977)
(finding that in camera proceedings “serve to resolve, without disclosure, the conflict between the
threatened deprivation of a party’s constitutional rights and the Government’s claim of privilege
based on the needs of public security”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976)
(per curiam) (“This Circuit, too, has repeatedly approved the use of in camera examinations as the
means for resolving the conflict between a defendant's need for evidence and the government's
claim of privilege based on the needs of public security.”). At any such hearing, the defendant
should be required to make a specific proffer of some relevant purpose that is not substantially
outweighed by the prejudice that disclosure would inflict on the United States’s security interests.
Cf. United States v. Willie, 941 F.2d 1384, 1393 (10th Cir. 1991) (explaining that a “proffer of
great specificity” was necessary to support admission of testimony that could have proper or
improper purposes).
                                                15
          Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 16 of 35




place within Congress that day. The purpose of this testimony will be to explain, in part, the

obstruction of the official proceeding.

         The United States does not anticipate asking these law enforcement witnesses on direct

examination about their knowledge of or the adequacy of their planning regarding the riot that

would ultimately take place on January 6, 2021. Accordingly, the United States seeks an order

limiting the cross-examination of law enforcement witnesses to preclude questions related to their

knowledge of or preparations for the January 6, 2021 riot. These topics have no relevance to any

issue at controversy. See Fed R. Evid. 401; see also United States v. Edward Badalian, Trial Tr.

04/04/23 (“Badalian Verdict”), at 35 (“[E]ven if every single member of law enforcement

was . . . clueless . . . the record amply supports a finding that this defendant knew what he intended

to do and why he was there. Just because no one else, no one in a position to intervene was aware

of the conversations he tried to keep within a close group of confidants, doesn’t mean they weren’t

happening.”). Even if there were marginal relevance to such testimony, any relevance would be

substantially outweighed by the risk of confusing the issues. See Fed. R. Evid. 403.

   IV.        Motion in Limine To Preclude Defendant’s Introduction of Her Own Out-of-
              Court Statements as Inadmissible Hearsay

         A defendant’s own out-of-court statements are hearsay that cannot be admitted to prove

the truth of any matter asserted. Fed. R. Evid. 801, 802. Although the United States may offer the

defendant’s statements as statements of a party opponent, Fed. R. Evid. 801(d)(2)(A), or other

non-hearsay, the defendant has no corresponding right to admit her own statements without

subjecting herself to cross-examination.

         A.      The Rule of Completeness Cannot Circumvent the Rule Against Hearsay

         Federal Rule of Evidence 106, the “Rule of Completeness,” does not provide an end-run

around the prohibition against hearsay. That rule provides that, “[i]f a party introduces all or part

                                                 16
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 17 of 35




of a writing or recorded statement, an adverse party may require the introduction, at that time, of

any other part—or any other writing or recorded statement—that in fairness ought to be considered

at the same time.” Fed. R. Evid. 106. Rule 106 directs the Court to “permit such limited portions

[of a statement] to be contemporaneously introduced as will remove the distortion that otherwise

would accompany the prosecution’s evidence.” United States v. Sutton, 801 F.2d 1346, 1369 (D.C.

Cir. 1986). The rule does not “empower[] a court to admit unrelated hearsay.” United States v.

Woolbright, 831 F.2d 1390, 1395 (8th Cir. 1987). “[T]he provision of Rule 106 grounding

admission on ‘fairness’ reasonably should be interpreted to incorporate the common-law

requirements that the evidence be relevant, and be necessary to qualify or explain the already

introduced evidence allegedly taken out of context . . . . In almost all cases we think Rule 106 will

be invoked rarely and for a limited purpose.” Sutton, 801 F.2d at 1369.

       In this case, some of defendant’s statements to be offered by the United States were made

in chat groups, or using social media accounts, that were active over extended periods of time.

Rule 106 does not make all statements within these groups and accounts admissible over a hearsay

objection, but only those narrow portions that are necessary to “correct a misleading impression.”

Sutton, 801 F.2d at 1368 (quoting Rule 106 advisory committee notes). By way of analogy, Courts

of Appeals have rejected the notion that “all documents contained in agglomerated files must be

admitted into evidence merely because they happen to be physically stored in the same file.”

Jamison v. Collins, 291 F.3d 380, 387 (6th Cir. 2002) (quoting United States v. Boylan, 898 F.2d

230, 257 (1st Cir. 1990)).

       Accordingly, at trial the Court should reject any effort by defendant to use the Rule of

Completeness as a backdoor to admit otherwise inadmissible hearsay.




                                                 17
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 18 of 35




        B.       Law Enforcement Testimony Cannot Circumvent the Rule Against Hearsay

       Another mechanism by which the United States anticipates that the defendant may attempt

to introduce her own prior statements is through the testimony of law enforcement officers with

whom she had communications. The United States anticipates that the defendant may seek to call

law enforcement officers or agents, at least in part, to elicit self-serving statements made by the

defendant to law enforcement about her travels to Washington, D.C. or experiences at protests in

California. Any such statements by the defendant, if offered for the truth of the matter asserted,

would be inadmissible hearsay.

       An equally defective mechanism by which counsel might attempt to introduce the

defendant’s prior statements would be for the defendant to elicit lay opinion testimony from the

officers or agents. As an initial matter, such testimony would likely be irrelevant and inadmissible

on that basis.    Additionally, if such opinions are predicated on self-serving statements by

defendant, the opinion testimony is likewise inadmissible as a vehicle to admit defendant’s

hearsay. The Federal Rules of Evidence allow only expert witnesses to offer opinions based on

otherwise-inadmissible evidence, Fed. R. Evid. 703, and even in that context, expert opinion

testimony cannot be a backdoor for hearsay. See Gilmore v. Palestinian Interim Self-Government

Authority, 843 F.3d 958, 972 (D.C. Cir. 2016) (“The expert must form his own opinions by

applying his extensive experience and a reliable methodology to the inadmissible materials.

Otherwise, the expert is simply repeating hearsay evidence without applying any expertise

whatsoever, a practice that allows the [proponent] to circumvent the rules prohibiting hearsay”)

(internal quotation marks and alterations omitted) (quoting United States v. Mejia, 545 F.3d 179,

197 (2d Cir. 2008); DL v. D.C., 109 F. Supp. 3d 12, 30 (D.D.C. 2015) (“An expert is entitled to

rely on inadmissible evidence in forming his or her opinion, though the expert ‘must form his or



                                                18
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 19 of 35




her own opinions by applying his or her extensive experience and a reliable methodology to the

inadmissible materials,’ rather than simply ‘transmit’ the hearsay to the jury.” (alterations omitted)

(quoting Mejia, 545 F.3d at 197)). At trial, the Court should reject any effort by the defendant to

admit otherwise inadmissible hearsay indirectly through a law enforcement officer or other

percipient witness.

   V.        Motion in Limine To Preclude Improper Defense Arguments

        A.      First Amendment

        The United States moves this Court to admit in its case-in-chief statements that evince the

defendant’s motive or intent, or which go to prove an element of any offense with which they are

charged. In anticipation that the defendant may seek to oppose introduction of her statements on

First Amendment grounds, or may cite the First Amendment in arguments to the Court, the United

States also moves in limine to preclude the defense from eliciting evidence or arguing that her

statements and actions were protected by the First Amendment.

                1. Admission of Defendant’s Statements Does Not Violate the First
                   Amendment

        The United States intends to introduce several statements, made by defendant, that will aid

the Court’s determination as to whether the United States has met the elements of the obstruction

statute at issue and to show motive and intent. See Wisconsin v. Mitchell, 508 U.S. 476, 489 (1993)

(holding that the First Amendment “does not prohibit the evidentiary use of speech to establish the

elements of a crime or to prove motive or intent”). “Evidence of a defendant’s previous

declarations or statements is commonly admitted in criminal trials subject to evidentiary rules

dealing with relevancy, reliability, and the like.” Id. Accordingly, the United States asks that the

Court rule that the First Amendment does not bar admission at trial of any statement that the United




                                                 19
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 20 of 35




States offers to establish the defendant’s motive, intent, or an element of the crime, such as whether

she possessed mens rea required to convict her of the crimes with which she is charged.

       Courts across the country, including this Court’s colleagues in January 6th cases, have

allowed evidence of defendants’ statements for the purposes sanctioned by Mitchell. As Judge

Cooper recently ruled:

       Nor does the Court find any First Amendment concerns in the government’s use of
       Robertson’s statements to show intent. . . . If Robertson had expressed his views only
       through social media, he almost certainly would not be here. But he also allegedly took
       action—entering the Capitol without lawful authority in an alleged attempt to impede the
       Electoral College vote certification. His words remain relevant to his intent and motive for
       taking those alleged actions.

United States v. Robertson, 588 F. Supp. 3d 114, 124 (D.D.C. 2022) (internal citation omitted).

Outside of the context of January 6th, Mitchell has been cited to uphold the admission of a wide

range of statements, including but not limited to rap lyrics, terrorist materials, and speeches

advocating civil disobedience. See United States v. Smith, 967 F.3d 1196, 1205 (11th Cir. 2020)

(rap lyrics); United States v. Pierce, 785 F.3d 832, 841 (2d Cir. 2015) (rap lyrics and tattoos);

United States v. Salameh, 152 F.3d 88, 111–12 (2d Cir. 1998) (terrorist materials); United States

v. Fullmer, 584 F.3d 132, 158 (9th Cir. 2009) (speeches advocating civil disobedience).3

       The defendant’s statements that shed light on the elements of the offenses, or motive or

intent, should be admitted in this case as expressly permitted by Mitchell, regardless of whether

any of those statements may otherwise constitute speech protected by the First Amendment.




3
  The court in Fullmer specifically noted that one particular defendant’s conduct—which included
writing an editorial and recruiting speakers to travel and advocate on behalf of his organization—
was not criminal, and that punishing him based on that conduct alone would be unconstitutional.
Fullmer, 584 F.3d at 158. The court nonetheless, citing Mitchell, held that this defendant’s
“conduct . . . does provide circumstantial evidence from which a jury could have reasonably
inferred that Harper was involved in a conspiracy.” Id.
                                                 20
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 21 of 35




               2. Defendant Should Be Precluded from Raising a First Amendment Defense
                  to the Court

       The United States also moves in limine to preclude the defendant from arguing to the Court

that her conduct was protected by the First Amendment. None of the offenses with which the

defendant is charged punish speech, as crimes such as threats or solicitation do. The crimes with

which the defendant is charged punish the corrupt obstruction, influence, or impediment of an

official proceeding (violation of 18 U.S.C. § 1512(c)(2)) and other actions taken during the riot

which destroyed government property (violation of 18 U.S.C. § 1361).

       If the United States establishes the elements of any of the offenses with which the defendant

is charged, the First Amendment provides her no defense, even if evidence of the defendant’s

crimes is intertwined with political discussion and rhetoric. See United States v. Amawi, 695 F.3d

457, 482 (6th Cir. 2012) (“[A]lthough the conspiracy was closely related to, and indeed proved by,

many of the defendants’ conversations about political and religious matters, the conviction was

based on an agreement to cooperate in the commission a crime, not simply to talk about it.”); see

also United States v. Hassan, 742 F.3d 104, 127–28 (4th Cir. 2014) (citing Amawi).

       Accordingly, any line of cross-examination or argument that the defendant may wish to

make regarding the First Amendment is irrelevant because it lacks a “tendency to make the

existence of [a] fact that is of consequence to the determination of the action more probable or less

probable than it would be without the evidence,” Fed. R. Evid. 401, and because she is not entitled

to a First Amendment defense as a matter of law. To the extent there is any relevance to any of

the defendant’s First Amendment claims, the Court should exclude any questioning and argument

along those lines under Fed. R. Evid. 403. Any attempt to shift the Court’s attention to questions

about whether the defendant’s statements were protected by the First Amendment, rather than the

charged offenses risks confusing the issues and wasting time.

                                                 21
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 22 of 35




        B.     Charging Decisions and Selective Prosecution

       The United States moves in limine to exclude all evidence and arguments regarding its

charging decisions. The Supreme Court has recognized that the “Attorney General and United

States Attorneys retain ‘broad discretion’ to enforce the Nation’s criminal laws.” United States v.

Armstrong, 517 U.S. 456, 464 (1996) (quoting Wayte v. United States, 470 U.S. 598, 607 (1985)).

“They have this latitude because they are designated by statute as the President’s delegates to help

him discharge his constitutional responsibility to ‘take Care that the Laws be faithfully executed.’”

Id. (quoting U.S. Const. Art. II, § 3); see 28 U.S.C. §§ 516, 547. As a general matter, “so long as

the prosecutor has probable cause to believe that the accused committed an offense defined by

statute, the decision whether or not to prosecute, and what charge to file or bring before a grand

jury, generally rests entirely in his discretion.” Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978);

see also United States v. Batchelder, 442 U.S. 114, 125 (1979) (“Selectivity in the enforcement of

criminal laws is, of course, subject to constitutional constraints.”).

       Indeed, the D.C. Circuit has recognized that a selective prosecution claim implicates “an

issue of law entirely independent of the ultimate issue of whether the defendant actually committed

the crimes for which she was charged.” United States v. Washington, 705 F.2d 489, 495 (D.C.

Cir. 1983); see also United States v. Stone, 394 F.Supp.3d 1, 30 n.24 (D.D.C. 2019) (“[T]he

Supreme Court found that a claim of selective prosecution is not a ‘defense’ that triggers discovery

under Rule 16, because a claim of selective prosecution is not a response to the government’s case-

in-chief.”); Armstrong, 517 U.S. at 463 (noting “selective-prosecution claim is not a defense on

the merits to the criminal charge”). After all, evidence that some other individual is currently

uncharged or has been charged with a lesser crime than those charged here has no probative value

to the issues at trial and serves only to confuse the issues. See Fed. R. Evid. 402, 403; see also



                                                  22
             Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 23 of 35




United States v. Reed, 641 F.3d 992, 993–94 (8th Cir. 2011) (collecting cases and observing that

“[s]everal circuits have unanimously upheld the exclusion of evidence of prior charging decisions

on the ground that many factors unrelated to guilt may influence those decisions and their

admission therefore risks misleading the jury and confusing the issues”); United States v. Sutton,

No. CR 21-0598, 2022 WL 13940371, at *18 (D.D.C. Oct. 23, 2022) (“These issues are irrelevant,

inappropriate for consideration by the jury, invite jury nullification, and distract from the issues at

trial.”).

            The defendant should be precluded from introducing evidence or making arguments

regarding charging decisions made by the United States. To the extent that the defendant seeks to

present evidence or arguments that other individuals have not been charged for related conduct or

that it is unfair that she has been charged, while other individuals involved in related criminal

conduct remain uncharged or charged with lesser offenses, such evidence is irrelevant,

inadmissible, and serves only to divert the Court’s attention to matters unrelated to defendant’s

guilt or innocence.4

            C.    Entrapment or Public Authority Defenses

            The defendant should be prohibited from making arguments or attempting to introduce

evidence that law enforcement gave permission to the defendant to enter the U.S. Capitol. A public

authority defense is available only where a defendant “has knowingly acted in violation of federal

criminal law, but has done so in reasonable reliance on the authorization of a governmental

official.” United States v. Alvarado, 808 F.3d 474, 484 (11th Cir. 2015). Relatedly, the defense

of entrapment by estoppel applies only “to a defendant who reasonably relies on the assurance of



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  The United States does not, through this motion, seek to exclude evidence of charging decisions
relating to cooperating witnesses for the limited purpose of impeaching the credibility of each
witness’s testimony.
                                                  23
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 24 of 35




a government official that specified conduct will not violate the law.” Id. at 484–85. Such reliance

must be “objectively reasonable.” United States v. Barker, 546 F.2d 940, 948 (D.C. Cir. 1976).

This defense is unavailable in this case, and the United States moves in limine to exclude evidence

or argument targeted at such a defense. The defendant has just served notice pursuant to Rule

12.3(a)(1), claiming former President Donald Trump authorized her actions. ECF No. 90.

               1. The Defendant’s Actions Were Not Authorized by the President

       The defendant should be precluded from advancing a public authority defense. As an initial

matter, former President Trump did not have the authority to permit or authorize anyone to obstruct

Congress, nor promote anyone to destroy windows on the U.S. Capitol building, nor could he have

lawfully sanctioned the attack on the United States Capitol on January 6 or any of the other

criminal conduct allegedly perpetrated by the defendant. As Chief Judge Howell wrote in rejecting

the idea of an entrapment-by-estoppel defense for January 6 defendants:

       [A President] cannot, in keeping with his constitutional function and his responsibilities
       under Article II, lawfully permit actions that directly undermine the Constitution. Thus, a
       President cannot, within the confines of his constitutional authority, prevent the
       constitutionally mandated certification of the results of a Presidential Election or encourage
       others to do so on his behalf, nor can he direct an assault on the coequal Legislative branch
       of government. Were a President to attempt to condone such conduct, he would act ultra
       vires and thus without the force of his constitutional authority. . . . Put simply, even if
       former President Trump in fact [explicitly directed the rioters’ actions,] his statements
       would not immunize defendants charged with offenses arising from the January 6 assault
       on the Capitol from criminal liability.

United States v. Chrestman, 525 F. Supp. 3d 14, 32–33 (D.D.C. 2021). The D.C. Circuit came to

the same conclusion in United States v. North, when addressing Oliver North’s contention that

President Ronald Reagan authorized his obstruction of Congress in that case. 910 F.2d 843, 879

(D.C. Cir. 1990) (per curiam), opinion withdrawn and superseded in part on reh’g, 920 F.2d 940

(D.C. Cir. 1990). The court made clear that “‘[n]either the President nor any of [North’s] superiors




                                                24
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 25 of 35




had the legal authority to order anyone to violate the law,’ particularly if such ‘orders,’ explicit or

implicit, represented nothing more than [the President’s] desires.” Id. at 891 n.24.

       Chief Judge Howell’s opinion in Chrestman adopted a four-part test from the Tenth Circuit,

which limits the entrapment-by-estoppel defense to narrow circumstances. Chrestman, 525 F.

Supp. 3d at 33 (citing United States v. Cox, 906 F.3d 1170, 1191 (10th Cir. 2018)). “To win an

entrapment-by-estoppel claim, a defendant criminally prosecuted for an offense must prove (1)

that a government agent actively misled him about the state of the law defining the offense; (2)

that the government agent was responsible for interpreting, administering, or enforcing the law

defining the offense; (3) that the defendant actually relied on the agent’s misleading

pronouncement in committing the offense; and (4) that the defendant’s reliance was reasonable in

light of the identity of the agent, the point of law misrepresented, and the substance of the

misrepresentation.” Id. (quoting Cox, 906 at 1191).

       Here, the defendant cannot meet the requirements of the Tenth Circuit’s four-part test. To

begin, the defendant cannot point to any government official who advised her that her conduct was

legal. Former President Trump’s speech on January 6, 2021 could not satisfy the first prong of the

Tenth Circuit’s test, should the defendant argue she was relying on his orders. Former President

Trump did not state that the U.S. Capitol grounds were no longer “restricted” under 18 U.S.C. §

1752(a); nor that it would not constitute obstruction of the proceeding to enter the Capitol building

under 18 U.S.C. § 1512(c)(2); nor that property inside the Capitol building was not government

property, and so could be destroyed notwithstanding 18 U.S.C. § 1361. Former President Trump

did not purport to reinterpret a specific criminal statute to render the defendant’s conduct

noncriminal. He therefore did not “actively mis[lead]” the defendant “about the state of the law




                                                  25
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 26 of 35




defining the offense.” Cox, 906 F.3d at 1191. The defendant has not identified anyone else who

might have authority to do so who did so either.

       And even if the defendant was able to point to such a government official, which she

cannot, the defendant could not show that her reliance was reasonable. “[R]easonable reliance

occurs” only “if ‘a person sincerely desirous of obeying the law would have accepted the

information as true, and would not have been put on notice to make further inquiries.’” United

States v. Lynch, 903 F.3d 1061, 1077 (9th Cir. 2018) (quoting United States v. Batterjee, 361 F.3d

1210, 1216–17 (9th Cir. 2004)); see United States v. Corso, 20 F.3d 521, 528 (2d Cir. 1994)

(adopting “sincerely desirous” standard). It is objectively unreasonable to conclude that then-

President Trump could authorize citizens to break into the Capitol and interfere with the Electoral

College proceedings that were being conducted. Indeed, the Supreme Court has made clear that

an entrapment-by-estoppel defense is not available in cases where a government official’s directive

constitutes a “waiver of law” beyond the official’s lawful authority. Cox v. Louisiana, 379 U.S.

559 (1965) (drawing an “obvious[]” distinction between identifying an area for lawful protest and

“allowing one to commit, for example, murder, or robbery”). Any “instruction” from a President

to wage an unlawful assault on the Legislative branch of government would exceed the President’s

constitutional authority. See Chrestman, 525 F. Supp. 3d at 33 (“Were a President to attempt to

condone such conduct, he would act ultra vires and thus without the force of his constitutional

authority.” (citing Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 588–89 (1952))). This

is because “no President may unilaterally abrogate criminal laws duly enacted by Congress as they

apply to a subgroup of his most vehement supporters.” Chrestman, 525 F. Supp. 3d at 32.

Accordingly, any such argument would be per se unreasonable.




                                                26
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 27 of 35




       The defendant’s conduct was plainly beyond any conduct that could be reasonably

sanctioned. The defendant should be prohibited from making arguments or attempting to introduce

irrelevant evidence that former President Trump or any other government official authorized her

conduct at the Capitol.

               2. The Defendant’s Actions Were Not Authorized by Law Enforcement

       The same reasoning applies to any argument based on acts or omissions of the U.S. Capitol

Police or other law enforcement: “the logic in Chrestman that a U.S. President cannot unilaterally

abrogate statutory law applies with equal force to government actors in less powerful offices, such

as law enforcement officers protecting the U.S. Capitol Building.” Memorandum and Order,

United States v. Williams, No. 21-cr-377-BAH, at *2 (D.D.C. June 8, 2022), ECF No. 87. Even if

the defendant could establish that a member of law enforcement told them that it was lawful to

enter the Capitol building or allowed them to do so, the defendant’s reliance on any such statement

would not be reasonable in light of the “obvious police barricades, police lines, and police orders

restricting entry at the Capitol.” Chrestman, 525 F. Supp. 3d at 32.

       In addition to prohibiting any defense arguments that law enforcement actively

communicated to the defendant that entering the Capitol building or grounds was lawful, the Court

should also bar the defendant from arguing that any failure to act by law enforcement rendered

their conduct legal. The same reasoning that applied in Chrestman again applies here. That is,

like the Chief Executive, a Metropolitan Police Officer or U.S. Capitol Police Officer cannot

“unilaterally abrogate criminal laws duly enacted by Congress” through his or her purported

inaction. Chrestman, 525 F. Supp. 3d at 33. An officer cannot shield an individual from liability

for an illegal act by failing to enforce the law or ratify unlawful conduct by failing to prevent it.

As Chief Judge Howell explained in the context of another January 6 case, “[s]ettled caselaw



                                                 27
           Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 28 of 35




makes clear that law officer inaction—whatever the reason for the inaction—cannot sanction

unlawful conduct.” Williams, No. 21-cr-377-BAH, at *3.

                3. The Defendant’s Actions Were Not Caused by Agent Provocateurs

       Defendants in other, unrelated January 6 cases have introduced arguments that their actions

were encouraged by agents of the government. Absent a proffer of evidence, such that the Court

may evaluate the relevance of any such line of argument, the defendant should be precluded from

making any such arguments. Cf. Michelson v. United States, 335 U.S. 469, 481 (1948) (approving

of the trial court’s “scrupulous” efforts to guard against the asking of “a groundless question to

waft an unwarranted innuendo into the jury box.”).

           D. Additional Irrelevant Arguments

       The defendant should be prohibited from making arguments or attempting to introduce

irrelevant evidence that advocates for a verdict in the case based on factors others than the

defendant’s guilt or innocence. In particular, the Court should permit no argument, evidence, or

questioning regarding the following topics, which are legally and factually irrelevant to the case

at hand.

               1. Use of Federal Resources and the Volume and Timing of Discovery

       The United States requests that the defendant be precluded from arguing or eliciting

testimony regarding the volume, nature, or timing of discovery or the volume and type of federal

resources used in the investigation and prosecution of the case. Any attempt by the defendant to

comment on discovery or allocation of federal resources is irrelevant and unduly prejudicial. Fed.

R. Evid. 401, 402, 403.

               2. Defendant’s Claimed Good Character

       Character Generally. The Court should exclude evidence and argument from defendant



                                               28
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 29 of 35




introducing reputation or opinion evidence that defendant is generous, charitable, family-oriented,

religious, or a community participant. Evidence that a defendant possesses certain favorable

character traits is admissible only when the trait is “pertinent” to the offense charged. Fed. R.

Evid. 404(a)(2)(A); see, e.g., United States v. Harris, 491 F.3d 440, 447 (D.C. Cir. 2007); United

States v. Santana-Camacho, 931 F.2d 966, 967–68 (1st Cir. 1991) (Breyer, C.J.). But defendants

may not provide evidence of possessing a generally good character. See, e.g., United States v.

Hill, 40 F.3d 164, 168 (7th Cir. 1994) (court properly excluded “classic character evidence offered

to prove that [defendant] had a good character and acted in conformity therewith”); see United

States v. Joseph, 567 F. App’x 844, 849 (11th Cir. 2014) (“[W]hen the district court restricted

defense counsel’s comments about [defendant]’s honor and social contributions—comments that

were part of his jury nullification efforts—the court did not deny [defendant] the opportunity to

make a legally tenable argument. Instead, it kept him from making impermissible arguments.”).

Because none of the above characteristics are relevant to the charged offenses, the Court should

exclude any evidence and argument addressing these character traits.

       Specific Instances of Conduct. The Court should also exclude evidence and argument of

specific instances of defendant’s good character, including caring for family members, donations,

attending religious services, performing charitable or civic work, or other forms of generosity.

Rule 405(b) makes clear that unless a defendant’s character or character trait is “an essential

element of a charge, claim, or defense,” he may not offer evidence of specific instances of good

conduct. Fed. R. Evid. 405(b). Because none of the above instances of good conduct are relevant

to an essential element of a charge, claim, or defense in this case, evidence of such should be

excluded. See United States v. Bernard, 299 F.3d 467, 476 (5th Cir. 2002) (approving court’s

sentencing instruction that jurors should not “consider the religious views of the defendants”);



                                                29
          Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 30 of 35




Santana-Camacho, 931 F.2d at 967 (excluding evidence that defendant was a good family man

and a kind man because it was not a trait relevant to the offense); United States v. Nazzaro, 889

F.2d 1158, 1168 (1st Cir. 1989) (holding evidence of “bravery, attention to duty, perhaps

community spirit” were “hardly ‘pertinent’ to the [charged] crimes”); United States v. Morison,

622 F. Supp. 1009, 10111 (D. Md. 1985) (holding “patriotism” was not a relevant trait to the

charged offense).

               3. Defendant’s Claimed Ignorance of the Law.

         The Court should exclude evidence and argument from the defendant that she was ignorant

of the illegality of the charged conduct. “The general rule that ignorance of the law or a mistake

of law is no defense to criminal prosecution is deeply rooted in the American legal system.” Cheek

v. United States, 498 U.S. 192, 199 (1991). While there is a “narrow exception,” United States v.

Brooks, 681 F.3d 678, 700 n.18 (5th Cir. 2012), that exception is “reserved . . . to limited types of

statutory violations involving ‘complex’ statutes—namely those governing federal tax law and

antistructuring transactions.” United States v. Kay, 513 F.3d 432, 448 (5th Cir. 2007); see Bryan

v. United States, 524 U.S. 184, 195 (1998).

         Because ignorance of the law is not a defense to any of the charged offenses, any evidence

and argument that defendant did not know that the charged conduct was illegal should be excluded

as irrelevant, and defendant should not be permitted to ask witnesses if they knew her conduct was

illegal or whether they intended to commit crimes.

   VI.      Motion in Limine To Admit Evidence of November 2020 and December 2020
            Rallies

         The United States hereby provides notice, consistent information produced in discovery,

of its intent to introduce at trial evidence related to the defendant’s attendance, in Washington




                                                 30
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 31 of 35




D.C., at rallies on November 14, 2020 and December 12, 2020, the purpose of which was to protest

the November 2020 presidential election results.

         A. Legal Standard

        “Rule 404(b) excludes only evidence ‘extrinsic’ or ‘extraneous’ to the crimes charged, not

evidence that is ‘intrinsic’ or ‘inextricably intertwined.’” United States v. Allen, 960 F.2d 1055,

1058 (D.C. Cir. 1992) (“[The evidence] was an intrinsic part of the witness’ account of the

circumstances surrounding the offense for which [defendant] was indicted (and also was relevant

both to [defendant’s] intent to distribute and his knowledge about [a co-conspirator’s] drug

cache.”); see also United States v. Miller, 799 F.3d 1097, 1105 (D.C. Cir. 2015) (“The Rule does

not bar ‘evidence . . . of an act that is part of the charged offense,’”); United States v. Mahdi, 598

F.3d 883, 891 (D.C. Cir. 2010) (“No [404(b)] notice is required, however, for evidence of an

‘intrinsic act,’ that is, an act that is ‘part of the crime charged.’”); United States v. Washington, 12

F.3d 1128, 1135 (D.C. Cir. 1994) (“Moreover, ‘Rule 404(b) excludes only evidence ‘extrinsic’ or

‘extraneous’ to the crimes charged, not evidence that is ‘intrinsic’ or ‘inextricably intertwined.’”);

Fed. R. Evid. 404(b), Advisory Comm. Note regarding 1991 Amendment (“The amendment does

not extend to evidence of acts which are ‘intrinsic’ to the charged offense.”); United States v.

Bowie, 232 F.3d 923, 929 (D.C. Cir. 2000) (“[U]ncharged acts performed contemporaneously with

the charged crime may be termed intrinsic if they facilitate the commission of the charged crime,”

thus taking such acts outside the scope of Rule 404(b).).5

        Even where evidence is not intrinsic, evidence subject to Federal Rule of Evidence 404(b)

is nevertheless still admissible. The Federal Rules of Evidence simply prohibit “[e]vidence of a



5
 It should be noted that Bowie, 232 F.3d 923 seems to have questioned the admission of intrinsic
other crimes evidence without a 404(b) analysis, but one panel of the Circuit cannot overrule
standing precedent. See, e.g., United States v. Torres, 115 F.3d 1033, 1036 (D.C. Cir. 1997)
                                                  31
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 32 of 35




crime, wrong, or other act . . . to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” Fed. R. Evid. 404(b). As the Court

of Appeals has stated:

       Although stated as a restriction, the Rule is actually one of “inclusion rather than
       exclusion.” Evidence is only prohibited if it is offered for the impermissible inference that
       a defendant is of bad character resulting in bad conduct. Thus evidence of a defendant’s
       prior bad acts is admissible for purposes unrelated to the defendant’s character or
       propensity to commit crime, such as “proof of motive, opportunity, intent, preparation,
       plan, knowledge, identity, or absence of mistake or accident.”

United States v. Cassell, 292 F.3d 788, 792 (D.C. Cir. 2002) (internal citations omitted). The

Rule’s list of permissible uses of bad-act evidence is illustrative, not exhaustive. 2 J. Weinstein

and M. Berger, WEINSTEIN’S FEDERAL EVIDENCE § 404.22[6][a] (2017); see, e.g., Bowie,

232 F.3d at 933 (approving admission of other crimes evidence to corroborate other evidence).

The D.C. Circuit has held that Rule 404(b) is “quite permissive, excluding evidence only if it is

offered for the sole purpose of proving that a person’s actions conformed to his or her character.”

United States v. Long, 328 F.3d 655, 660–61 (D.C. Cir. 2003) (quotations and citations omitted);

see also United States v. Loza, 764 F. Supp. 2d 55, 57 (D.D.C. 2011) (citing United States v.

Mahdi, 598 F.3d 883, 891 (D.C. Cir. 2010)); United States v. Pettiford, 517 F.3d 584, 588 (D.C.

Cir. 2008); Miller, 895 F.2d at 1436.




(“panels of this court [] are obligated to follow controlling circuit precedent until either [the Court
of Appeals] sitting en banc, or the Supreme Court, overrule it.”); see also United States
v. Alexander, 331 F.3d 116, 125–26 (D.C. Cir. 2003) (“Although we have recently expressed
our dissatisfaction with the extrinsic-intrinsic distinction . . . we have nonetheless recognized
that at least in a narrow range of circumstances . . . evidence can be ‘intrinsic to’ the charged
crime”). In any event, the Bowie court recognized that its position does not affect the
admissibility of the evidence: the “only consequences of labeling evidence ‘intrinsic” are to
relieve the prosecution of Rule 404(b)’s notice requirement and the court of its obligation to
give an appropriate limiting instruction upon the defense counsel’s request.”
                                                  32
        Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 33 of 35




       Analysis of the admissibility of bad-acts evidence involves two steps. First, the Court

determines “whether the evidence is probative of some issue other than character.” Cassell, 292

F.3d at 792. Evidence of other crimes is admissible if it “is relevant, relates to something other

than character or propensity, and supports a jury finding that the defendant committed the other

crime or act.” Id. (citing Bowie, 232 F.3d at 926–27); see also Huddleston v. United States, 485

U.S. 681, 685 (1988). “Only one series of evidential hypotheses is forbidden in criminal cases by

Rule 404: a man who commits a crime probably has a defect of character; a man with such a defect

of character is more likely than men generally to have committed the act in question.” United

States v. Moore, 732 F.2d 983, 987 n.30 (D.C. Cir. 1984). Second, the court must decide if the

evidence should be excluded under Rule 403 of the Federal Rules of Evidence, United States v.

Clarke, 24 F.3d 257, 264 (D.C. Cir. 1994), which precludes evidence only if “its probative value

is substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading

the jury, undue delay, wasting time, or needlessly cumulative evidence,” Fed. R. Evid. 403. “[T]he

test under 403 is ‘unfair prejudice,’ not just any prejudice or harm to the defense.” United States

v. Sitzmann, 856 F. Supp. 2d 55, 61–62 (D.D.C. 2012).

       Notably, other acts evidence is often relevant to several issues. In its en banc decision in

Crowder, the Court of Appeals for the D.C. Circuit stated the following:

       Rule 404(b) evidence will often have such multiple utility, showing at once intent,
       knowledge, motive, preparation and the like. Proof of an individual’s intent to commit an
       act may itself serve as proof that the individual committed the act, as the Supreme Court
       recognized more than a century ago. In proving that a defendant intended to distribute crack
       cocaine, for instance, the government might simultaneously be showing the defendant’s
       motive to possess the crack, which Rule 404(b) permits. Intent would thereby serve as an
       intermediate fact from which the jury could infer another intermediate fact—motive—from
       which it could in turn infer the element of possession. Thus, other-offense evidence of
       intent would have probative value not just on the intent element, but also on the possession
       element of the offense.




                                                33
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 34 of 35




United States v. Crowder, 141 F.3d 1202, 1208 (D.C. Cir. 1998) (en banc) (citation omitted).

Thus, in Crowder, other acts evidence was admitted to show the defendant’s knowledge, intent,

and motive. And these admissible other acts may occur before or after the charged offense. See,

e.g., United States v. Watson, 894 F.2d 1345, 1349 (D.C. Cir. 1990) (admitting other crimes that

occurred three months after charged offense); United States v. Bibo-Rodriguez, 922 F.2d 1398,

1400 (9th Cir. 1991) (“By it its very terms, 404(b) does not distinguish between ‘prior’ and

‘subsequent’ acts”); United States v. Johnson, 934 F.2d 936, 940 (8th Cir. 1991) (“[T]he mere

subsequency of an act . . . does not on that ground alone make it incompetent.”).

        B. The Proffered Evidence Is Admissible

       The United States will seek to introduce the evidence described above. As an initial matter,

because it is all tied together as part of the defendant’s efforts to contest the 2020 presidential

election results, the proffered evidence is admissible as intrinsic evidence that “arose out of the

same transaction or series of transactions as the charged offense.” United States v. Badru, 97 F.3d

1471, 1474 (D.C. Cir. 1996); see also United States v. Lorenzana-Cordon, 141 F. Supp. 3d 35, 40

(D.D.C. 2015). Moreover, even if the evidence were not intrinsic to the charged offenses, all of

this evidence is also relevant to issues other than the defendant’s character and, therefore,

admissible pursuant to Rule 404(b).6 For example, that the defendant felt strongly enough in her

efforts to protest the 2020 presidential election result that she traveled across the country to

Washington, D.C. for rallies not once, but three separate times, is highly relevant. It is material to

show the defendant’s intent, motive, preparation, plan, and knowledge. Fed. R. Evid. 404(b). The

evidence of her lawfully protesting in D.C. on prior occasions is also relevant to her understanding



6
 Indeed, it is unclear what, if any, “character” trait the proffered evidence would even address.
Because Rule 404(b) applies only evidence “to prove a person’s character,” it does not apply
where, as here, the proffered evidence is not proof of a character trait at all. Fed. R. Evid. 404(b).
                                                 34
         Case 1:21-cr-00036-CJN Document 91 Filed 06/14/24 Page 35 of 35




that storming the Capitol on January 6th and breaking windows on the Capitol building was not the

legal way to “make her voice heard.” Such evidence is not unfairly prejudicial and therefore it is

not subject to exclusion pursuant to Rule 403. As such, at trial, the United States intends to

introduce evidence related to Hostetter’s travel to Washington, D.C., in November 2020.

                                         CONCLUSION

        For the foregoing reasons, the United States respectfully requests that the Court grant the

requested relief or, if the Court reserves ruling, to consider the above arguments when the relevant

issues arise during trial.

Date: June 14, 2024

                                              Respectfully submitted,

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                                                35
